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01129/59289-MDC

lN THE UNITED STATES DlSTRlCT COURT
FOR THE WESTERN DlSTRlCT OF TENNESSEE,
EASTERN D|V|SlON

 

ODlS TUCKER, VONN|E TUCKER,
BLAKE TUCKER and LAUREN TUCKER

P|aintiffs,
C|V|L ACTION NO.
VS. 1-05-1046TIAn
STATE OF TENNESSEE, its political subdivision, JURY DEMANDED
HARD|N COUNTY, and C|TY OF SAVANNAH

POL|CE DEPARTMENT,

vv~vvvvvvv\_'v

Defendants

 

RULE16(b)SCHEDULlNG ORDER

 

Pursuant to the Schedu|ing Conference set by written notice, the following dates are
established as the final dates for:
lNlTlAL DlSCLOSURES (Ru|e 26(a)(1)): June 21, 2005
JO|NING PART|ES:
For P|aintiff: August 8, 2005
For Defendants: September 8, 2005
AMEND|NG PLEAD|NGS:
For P|aintiff: August 8, 2005

For Defendant: September 8, 2005

Thle document entered on the docket ln oompll;?e v 7
with Rule 58 end,'or_'!B (a] FRGP on

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COMPLET|NG ALL DlSCOVERY: January 13, 2006

(a) Request for Production, lnterrogatories, and Requests
for Admission: January 13, 2006

(b) Expert Disclosure (Ru|e 26(a)(2)):
(i) P|aintiff's Experts: November 11, 2005
(ii) Defendant's Experts: December 12, 2005
(iii) Supp|ementation under Rule 26(e): December 22, 2005

(c) DEPOS|T|ONS OF EXPERTS: January 13, 2006

FlLlNG D_|SPOS|T|VE MOT|ONS: February 15, 2006
F|NAL LlSTS OF WlTNESSES AND EXHlBlTS (Rule 26(a)(3)):
(a) For P|aintiff: Nlarch 31, 2006
(b) For Defendant: April 14, 2006
Parties shall have ten (10) days after service of final lists of witnesses and exhibits
to file objections under Ru|e 26(a)(3).
The trial of this matter is expected to last three (3) days and is SET for JURY TR|AL
May 15, 2006, at 9:30 a.m. Ajoint pretrial order is due on May 5, 2006. in the event the
parties are unable to agree on a joint pretrial order, the parties must notify the Court at least
ten (10) days before trial.
OTHER RELEVANT MATTERS:
lnterrogatories, Requests for Production and Requests for Admissions must be

submitted to the opposing party in sufncient time for the opposing party to respond by the

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deadline for completion of discovery. For example, if the FRCP allows 30 days for a party
to respond, then the discovery must be submitted at least 30 days prior to the deadline for
completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline
or within 30 days of the default or service of the response, answer, or objection which is the
subject of the motion if the default occurs within 30 days of the discovery deadline, unless
the time for t”l|ing of such motion is extended for good cause shown1 or any objection to the
default, response, or answer shall be waived.

The parties are reminded that pursuant to Loca| Ru|e 7(a)(1)(A) and (a)(t )(B), all
motions except motions pursuant to FRCP 12, 561 59, and 60, shall be accompanied by a
proposed Order and a Certit”lcate of Consultation.

The opposing party may tile a response to any motion filed in this matter. Neither
party may tile an additional reply, however, without leave of the Court. lf a party believes
that a reply is necessary, it shall file a motion for leave to file a reply accompanied by a
memorandum setting forth the reasons for which a reply is required. The parties may
consent to trial before the Magistrate Judge. The Magistrate Judge can normally provide
the parties with a definite trial date that will not be continued unless a continuance is agreed
to by all parties, or an emergency arises which precludes the matter from proceeding to
trial.

The parties are encouraged to engage in court-annexed attorney mediation or

private mediation on or before the close of discovery.

This Order has been entered after consultation with trial counsel pursuant to Notice.

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Absent good cause shown, the scheduling dates set by this Order will not be modified or

extended
n is so oRDERED.
This the £¢day of 2 ; bia . 2005.

'<S%A¢ @_)

S. THOMAS ANDERSON
UN|TED STATES N|AGlSTRATE JUDGE

APPROVED FOR ENTRY:

W|LLIAN| BROWN 81 ASSOC|ATES

WlLLlAM JACKSON BROWN, BPR 00 0

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 27 in
case 1:05-CV-01046 Was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

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Honorable J ames Todd
US DlSTRlCT COURT

